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                                                                              U.S. DISTRICT COURT

                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,
                                                    ORDER AUTHORIZING
       Plaintiff,                                   INTERLOCUTORY SALE

 v.                                                 Case No. 2:21-cr-00140-JNP

 SEZGIN BARAN KORKMAZ,                              District Judge Jill N. Parrish

       Defendant.



       Before the court is the United States’ motion for the interlocutory sale of property that has

been named as subject to forfeiture in this criminal case and is identified and described as the

luxury yacht named the “Queen Anne,” refitted by Pina Marin in 2018, Hull Number Renewal No.

DLZ76014G717, International Maritime Organization No. 9704958, Maritime Mobile Service

Identity No. 518100712, and call sign E5U3623, and all property contained thereon and therein

(hereinafter, the Subject Property), presently in the possession of the United States.

       Pursuant to Rule G(7)(b) of the Federal Rules of Civil Procedure, as incorporated by Rule

32.2(b)(7) of the Federal Rules of Criminal Procedure, the court has the authority to order the

interlocutory sale of property subject to forfeiture if the court finds that the property is perishable

or at risk of deterioration; the expense of keeping the property is excessive or is disproportionate

to its fair market value; or the court “finds other good cause.” FED. R. CIV P. G(7)(b)(i).

       The court finds good cause for the issuance of this interlocutory sale order based on the

following facts demonstrated by the United States: The high costs associated with paying docking

fees, paying to potentially transport it to the United States if the Subject Property cannot be sold
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in place, and then preserving it through what could be very lengthy litigation, especially given that

Defendant Sezgin Baran Korkmaz is currently being detained in Austria and is the subject of

extradition requests made by both the United States and Turkey, satisfy multiple prongs of

Supplemental Rule G(7)(b). Maintenance and repairs to the Subject Property are extremely

expensive and time consuming and the Subject Property is in a state of repair that prohibits an

unassisted ocean voyage. The costs for fuel, dockage, crewing, and other expenses if the Subject

Property must be maintained by the United States for any length of time are also prohibitive and

would substantially reduce the value of the Subject Property, which is estimated at this time to be

approximately $10 million. All potentially interested parties have agreed to the sale.

       Accordingly, it is HEREBY ORDERED as follows:

       1. The Supplemental Motion for Interlocutory Sale, ECF No. 17, is GRANTED. The

           Subject Property may be sold by the United States Marshals Service (USMS) or any

           contractor retained by the USMS.

       2. The USMS may auction the Subject Property according to applicable regulations,

           policies, and procedures and subject to a commercially reasonable reserve price.

       3. All proceeds of the sale shall be held in an interest-bearing seized asset account pending

           further directions from this court.

               DATED October 22, 2021.

                                                 BY THE COURT



                                                 ______________________________
                                                 Jill N. Parrish
                                                 United States District Court Judge



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